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                                      DENIED BY THE COURT
                                      Good cause not shown for a second extension to the court trial.
 1
                               By:    __________________________
 2                                    Hon. R. Gary Klausner
                                      U.S. District Judge
 3                             Dated: 07/15/2022
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 8                             UNITED STATES DISTRICT COURT
 9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                      WESTERN DIVISION
11     PAUL SNITKO, JENNIFER                              Case No. 2:21-cv-04405-RGK-MAR
12
       SNITKO, JOSEPH RUIZ, TYLER
       GOTHIER, JENI VERDON-                              [PROPOSED] ORDER
       PEARSONS, MICHAEL STORC and                        CONTINUING BRIEFING AND
13
       TRAVIS MAY,                                        TRIAL DATES BY 60 DAYS [109]
14
                   Plaintiffs,
15
                          v.
16
       UNITED STATES OF AMERICA,
17     ET AL.,
18                 Defendants.
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22          Pursuant to the stipulation between Plaintiffs Paul Snitko, Jennifer Snitko,
23    Joseph Ruiz, Tyler Gothier, Jeni Verdon-Pearsons, Michael Storc and Travis May
24    (collectively, “Plaintiffs”), on the one hand, and Defendants United States of
25    America and Tracy L. Wilkison and Kristi Koons Johnson in their official capacity
26    only (collectively, “Defendants” or “the government”), on the other hand, to
27    continue briefing and trial dates by 60 days, and good cause appearing therefor, IT
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     Case 2:21-cv-04405-RGK-MAR Document 110 Filed 07/15/22 Page 2 of 2 Page ID #:1725




 1    IS HEREBY ORDERED that the dates in this case are hereby continued as follows
 2    opening briefs are due September 13, 2022, opposition briefs are due October 4,
 3    2022, reply briefs are due October 11, 2022 and the court trial is October 18, 2022.
 4    Dated:                              DENIED BY THE COURT           _
 5                                        THE HONORABLE R. GARY KLAUSNER
                                          UNITED STATES DISTRICT JUDGE
 6
 7
      Presented By:
 8
      TRACY L. WILKISON
 9    Acting United States Attorney
10
      SCOTT M. GARRINGER
      Assistant United States Attorney
11    Chief, Criminal Division
12
            /s/
13    ANDREW BROWN
      VICTOR A. RODGERS
14    MAXWELL COLL
      Assistant United States Attorneys
15
      Attorneys for Defendants
16    UNITED STATES OF AMERICA and
      TRACY L. WILKISON and KRISTI KOONS
17    JOHNSON IN THEIR OFFICIAL CAPACITY ONLY
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